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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

_________________________________
                                 )
SHANGHAI MEIHAO                  )
ELECTRIC INC.                    )
No. 58 Shahe Road                )
Jiangqiao Town                   )
Jiading Borough                  )
Shanghai, China 201803           )
                                 )
                  Plaintiff,     )
                                 )                   Civil Action No. _____________
        v.                       )
                                 )
LEVITON MANUFACTURING            )
COMPANY, INC.                    )
59-25 Little Neck Parkway        )
Little Neck, New York 11362      )
                                 )
                  Defendant.     )
_________________________________)


               COMPLAIN T AND REQUEST FOR DECLARATORY RELIEF

   Plaintiff, Shanghai Meihao Electric Inc. (“Meihao”), by its attorneys, for its Complaint against

Defendant, Leviton Manufacturing Company, Inc. (“Leviton”), alleges as follows:


                                           NATURE OF THE ACTION

     1.     This is an action for a declaratory judgment that U.S. Patent Nos. 6,040,967, 6,246,558,

6,282,070, 6,288,882, 6,381,112 and 6,437,953 (the “patents-in-suit”) are not infringed by Meihao,

and/or invalid, and/or unenforceable.




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                                            THE PARTIES

       2.    Meihao is a corporation organized and existing under the laws of the People’s Republic of

China, having its principal place of business at No. 58 Shahe Road, Jiangqiao Town, Jiading Borough,

Shanghai, China, 201803. Meihao manufactures electrical devices, including the products at issue,

ground- fault circuit interrupters (“GFCIs”) equipped with reverse wiring protection (“RW-GFCIs”),

which are sold in the United States, including within the District of Maryland.

       3.    On information and belief, Leviton is a corporation organized and existing under the laws of

the State of Delaware, having its principal place of business at 59-25 Little Neck Parkway, Little Neck,

New York 11362. On information and belief, Leviton manufactures and sells electrical devices,

including GFCIs.


                                       JURISDICTION AND VENUE

       4.    The claims asserted in this Complaint are brought pursuant to the Declaratory Judgment Act,

28 U.S.C. §§ 2201 and 2202, and arise under the patent laws of the United States, 35 U.S.C. §§ 100, et

seq.

       5.    This Court has jurisdiction over the claims asserted in this Complaint under 28 U.S.C. §§

1331 and 1338.

       6.    On information and belief, Leviton does business throughout the United States, including

within the District of Maryland.

       7.    Venue is proper in this Judicial District under 28 U.S.C. § 1391 (b) and (c).




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                                           THE PATENTS-IN-SUIT

     8.     On information and belief, U.S. Patent No. 6,040,967 (“the ‘967 Patent”), entitled “Reset

Lockout for Circuit Interrupting Device,” was issued on March 21, 2000, and assigned to Leviton. A

copy of the ‘967 Patent is attached as Exhibit A.

     9.     On information and belief, U.S. Patent No. 6,246,558 (“the ‘558 Patent”), entitled “Circuit

Interrupting Device With Reverse Wiring Protection,” was issued on June 12, 2001, and assigned to

Leviton. A copy of the ‘558 Patent is attached as Exhibit B.

     10.    On information and belief, U.S. Patent No. 6,282,070 (“the ‘070 Patent”), entitled “Circuit

Interrupting System with Independent Trip and Reset Lockout,” was issued on August 28, 2001, and

assigned to Leviton. A copy of the ‘070 Patent is attached as Exhibit C.

     11.    On information and belief, U.S. Patent No. 6,288,882 (“the ‘882 Patent”), entitled “Circuit

Breaker With Independent Trip and Rest Lockout,” was issued on September 11, 2001, and assigned to

Leviton. A copy of the ‘882 Patent is attached as Exhibit D.

     12.    On information and belief, U.S. Patent No. 6,381,112 (“the ‘112 Patent”), entitled “Reset

Lockout for Circuit Interrupting Device,” was issued on April 30, 2002, and assigned to Leviton. A

copy of the ‘112 Patent is attached as Exhibit E.

     13.    On information and belief, U.S. Patent No. 6,437,953 (“the ‘953 Patent”), entitled “Circuit

Interrupting Device With Reverse Wiring Protection,” was issued on August 20, 2002, and assigned to

Leviton. A copy of the ‘953 Patent is attached as Exhibit F.




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                                           RELEVANT FACTS

     14.    A GFCI is a device that provides protection against electric shock and electrocution from

ground faults or contact with live electrical parts by a person that is grounded. A ground fault occurs

when the electric current in a device strays from its intended path, for example, due to wear and tear or a

device becoming wet. The stray electric current can shock or injure a person that is grounded. An

example is a person using a hair dryer that is wet. The water can provide a current path that bypasses

the dryer's insulation and reaches the person. If the person is grounded, the current then flows through

the person to the ground resulting in electrocution. The GFCI senses an imbalance in the current in the

line and load sides of the receptacle and interrupts the circuit, thus preventing harm and injury to a

person.

     15.    The basic standard used to evaluate and certify all GFCIs is Underwriters Laboratories

(“UL”) Standard 943, titled “Ground Fault Circuit Interrupters.” UL issued a revised standard for

GFCIs, effective January 1, 2003.

     16.    Meihao manufactures RW-GFCIs in accordance with the newly revised UL standard and has

received approval by UL for its RW-GFCIs.

     17.    On information and belief, Universal Manufacturing Company, Inc. and USI Electric, Inc.

(collectively “USI”) are corporations organized and existing under the laws of the State of Maryland.

USI is a customer of Meihao, and purchases and resells Meihao’s RW-GFCIs in the State of Maryland

and elsewhere.

     18.    On or about June 10, 2003, Leviton sued USI in the United States District Court for the

District of Maryland for infringement of the six patents- in-suit. On information and belief, Leviton’s




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allegations are based on USI’s sales of Meihao’s RW-GFCIs. A copy of the Complaint is attached as

Exhibit G.

      19.    In addition, Leviton has sued other Meihao customers for infringement of the six patents- in-

suit. On or about June 10, 2003, Leviton sued Leen & Associates d/b/a The Designers Edge in the

United States District Court for the Western District of Washington, Civil Action No. 03-1271, and on

or about June 13, 2003, Leviton sued Florida Lighting, Inc., AF Lighting, All Fit, Inc., and Star Lighting

in the United States District Court for the Southern District of Florida, Civil Action No. 03-61146. On

information and belief, Leviton’s allegations in these suits are again based on Meihao’s customers’ sales

of Meihao’s RW-GFCIs. Copies of the Complaints in these actions are attached as Exhibits H and I,

respectively.



        CLAIM ONE – DECLARATORY JUDGMENT OF NONINFRINGEMENT,
          INVALIDITY AND UNENFORCEABILITY OF THE ‘967 PATENT

      20.    Meihao incorporates by reference the allegations set forth above in paragraphs 1-19, as if

fully set forth herein.

      21.    An actual controversy exists as to the infringement, validity, and enforceability of the ‘967

Patent, and Leviton’s actions have placed Meihao in reasonable apprehension of suit. Unless Leviton is

permanently enjoined, Leviton will continue to assert groundless charges of infringement and/or acts of

enforcement or lawsuits based on the ‘967 Patent against Meihao and those in privity with Meihao,

including Meihao’s customers and prospective customers.

      22.    Each of the claims of the ‘967 Patent are not infringed by Meihao’s RW-GFCIs, and/or

invalid for failure to comply with one or more of the statutory requirements of 35 U.S.C. §§ 102, 103,

and/or 112, and/or unenforceable.

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      23.    Meihao has the right to make, use, sell, and offer for sale its RW-GFCIs without a license

from Leviton and free of any charge of infringement of any claim of the ‘967 Patent.


        CLAIM TWO – DECLARATORY JUDGMENT OF NONINFRINGEMENT,
           INVALIDITY AND UNENFORCEABILITY OF THE ‘558 PATENT

      24.    Meihao incorporates by reference the allegations set forth above in paragraphs 1-19, as if

fully set forth herein.

      25.    An actual controversy exists as to the infringement, validity, and enforceability of the ‘558

Patent, and Leviton’s actions have placed Meihao in reasonable apprehension of suit. Unless Leviton is

permanently enjoined, Leviton will continue to assert groundless charges of infringement and/or acts of

enforcement or lawsuits based on the ‘558 Patent against Meihao and those in privity with Meihao,

including Meihao’s customers and prospective customers.

      26.    Each of the claims of the ‘558 Patent are not infringed by Meihao’s RW-GFCIs, and/or

invalid for failure to comply with one or more of the statutory requirements of 35 U.S.C. §§ 102, 103,

and/or 112, and/or unenforceable.

      27.    Meihao has the right to make, use, sell, and offer for sale its RW-GFCIs without a license

from Leviton and free of any charge of infringement of any claim of the ‘558 Patent.



      CLAIM THREE – DECLARATORY JUDGMENT OF NONINFRINGEMENT,
          INVALIDITY AND UNENFORCEABILITY OF THE ‘070 PATENT

      28.    Meihao incorporates by reference the allegations set forth above in paragraphs 1-19, as if

fully set forth herein.

      29.    An actual controversy exists as to the infringement, validity, and enforceability of the ‘070

Patent, and Leviton’s actions have placed Meihao in reasonable apprehension of suit. Unless Leviton is

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permanently enjoined, Leviton will continue to assert groundless charges of infringement and/or acts of

enforcement or lawsuits based on the ‘070 Patent against Meihao and those in privity with Meihao,

including Meihao’s customers and prospective customers.

      30.    Each of the claims of the ‘070 Patent are not infringed by Meihao’s RW-GFCIs, and/or

invalid for failure to comply with one or more of the statutory requirements of 35 U.S.C. §§ 102, 103,

and/or 112, and/or unenforceable.

      31.    Meihao has the right to make, use, sell, and offer for sale its RW-GFCIs without a license

from Leviton and free of any charge of infringement of any claim of the ‘070 Patent.



       CLAIM FOUR – DECLARATORY JUDGMENT OF NONINFRINGEMENT,
          INVALIDITY AND UNENFORCEABILITY OF THE ‘882 PATENT

      32.    Meihao incorporates by reference the allegations set forth above in paragraphs 1-19, as if

fully set forth herein.

      33.    An actual controversy exists as to the infringement, validity, and enforceability of the ‘882

Patent, and Leviton’s actions have placed Meihao in reasonable apprehension of suit. Unless Leviton is

permanently enjoined, Leviton will continue to assert groundless charges of infringement and/or acts of

enforcement or lawsuits based on the ‘882 Patent against Meihao and those in privity with Meihao,

including Meihao’s customers and prospective customers.

      34.    Each of the claims of the ‘882 Patent are not infringed by Meihao’s RW-GFCIs, and/or

invalid for failure to comply with one or more of the statutory requirements of 35 U.S.C. §§ 102, 103,

and/or 112, and/or unenforceable.

      35.    Meihao has the right to make, use, sell, and offer for sale its RW-GFCIs without a license

from Leviton and free of any charge of infringement of any claim of the ‘882 Patent.

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        CLAIM FIVE – DECLARATORY JUDGMENT OF NONINFRINGEMENT,
           INVALIDITY AND UNENFORCEABILITY OF THE ‘112 PATENT

      36.    Meihao incorporates by reference the allegations set forth above in paragraphs 1-19, as if

fully set forth herein.

      37.    An actual controversy exists as to the infringement, validity, and enforceability of the ‘112

Patent, and Leviton’s actions have placed Meihao in reasonable apprehension of suit. Unless Leviton is

permanently enjoined, Leviton will continue to assert groundless charges of infringement and/or acts of

enforcement or lawsuits based on the ‘112 Patent against Meihao and those in privity with Meihao,

including Meihao’s customers and prospective customers.

      38.    Each of the claims of the ‘112 Patent are not infringed by Meihao’s RW-GFCIs, and/or

invalid for failure to comply with one or more of the statutory requirements of 35 U.S.C. §§ 102, 103,

and/or 112, and/or unenforceable.

      39.    Meihao has the right to make, use, sell, and offer for sale its RW-GFCIs without a license

from Leviton and free of any charge of infringement of any claim of the ‘112 Patent.



         CLAIM SIX – DECLARATORY JUDGMENT OF NONINFRINGEMENT,
           INVALIDITY AND UNENFORCEABILITY OF THE ‘953 PATENT

      40.    Meihao incorporates by reference the allegations set forth above in paragraphs 1-19, as if

fully set forth herein.

      41.    An actual controversy exists as to the infringement, validity, and enforceability of the ‘953

Patent, and Leviton’s actions have placed Meihao in reasonable apprehension of suit. Unless Leviton is

permanently enjoined, Leviton will continue to assert groundless charges of infringement and/or acts of




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enforcement or lawsuits based on the ‘953 Patent against Meihao and those in privity with Meihao,

including Meihao’s customers and prospective customers.

     42.    Each of the claims of the ‘953 Patent are not infringed by Meihao’s RW-GFCIs, and/or

invalid for failure to comply with one or more of the statutory requirements of 35 U.S.C. §§ 102, 103,

and/or 112, and/or unenforceable.

     43.    Meihao has the right to make, use, sell, and offer for sale its RW-GFCIs without a license

from Leviton and free of any charge of infringement of any claim of the ‘953 Patent.



                                           RELIEF REQUESTED

     WHEREFORE, Meihao respectfully requests that the Court enter an Order and Judgment as

follows:

     A.     that the Court declare that the making, using, selling, offering for sale and/or importation into

the United States of the Meihao RW-GFCIs has not infringed and does not infringe any valid and

enforceable claim of the ‘967 Patent, or induce or contribute to the infringement of the ‘967 Patent;

     B.     that the Court enjoin Leviton from asserting the ‘967 Patent against Meihao, its

representatives, agents, customers and/or contractors, present and prospective;

     C.     that the Court declare that the making, using, selling, offering for sale and/or importation into

the United States of the Meihao RW-GFCIs has not infringed and does not infringe any valid and

enforceable claim of the ‘558 Patent, or induce or contribute to the infringement of the ‘558 Patent;

     D.     that the Court enjoin Leviton from asserting the ‘558 Patent against Meihao, its

representatives, agents, customers and/or contractors, present and prospective;




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     E.     that the Court declare that the making, using, selling, offering for sale and/or importation into

the United States of the Meihao RW-GFCIs has not infringed and does not infringe any valid and

enforceable claim of the ‘070 Patent, or induce or contribute to the infringement of the ‘070 Patent;

     F.     that the Court enjoin Leviton from asserting the ‘070 Patent against Meihao, its

representatives, agents, customers and/or contractors, present and prospective;

     G.     that the Court declare that the making, using, selling, offering for sale and/or importation into

the United States of the Meihao RW-GFCIs has not infringed and does not infringe any valid and

enforceable claim of the ‘882 Patent, or induce or contribute to the infringement of the ‘882 Patent;

     H.     that the Court enjoin Leviton from asserting the ‘882 Patent against Meihao, its

representatives, agents, customers and/or contractors, present and prospective;

     I.     that the Court declare that the making, using, selling, offering for sale and/or importation into

the United States of the Meihao RW-GFCIs has not infringed and does not infringe any valid and

unenforceable claim of the ‘112 Patent, or induce or contribute to the infringement of the ‘112 Patent;

     J.     that the Court enjoin Leviton from asserting the ‘112 Patent against Meihao, its

representatives, agents, customers and/or contractors, present and prospective;

     K.     that the Court declare that the making, using, selling, offering for sale and/or importation into

the United States of the Meihao RW-GFCIs has not infringed and does not infringe any valid and

enforceable claim of the ‘953 Patent, or induce or contribute to the infringement of the ‘953 Patent;

     L.     that the Court enjoin Leviton from asserting the ‘953 Patent against Meihao, its

representatives, agents, customers and/or contractors, present and prospective;

     M.     that the Court declare this case an exceptional case under 35 U.S.C. §285;

     N.     that the Court award Meihao its reasonable attorneys’ fees, expenses and costs; and


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     O.     that the Court award such other and further relief as the Court may deem appropriate.



Dated: July 23, 2003                             By: ______/s/____________________
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